  Case 2:20-cv-12069-LVP-APP ECF No. 12-1, PageID.146 Filed 11/23/20 Page 1 of 2
                                             Monday, November 23, 2020 at 11:09:55 Eastern Standard Time

Subject: RE: Rasnick v. Morrison, et al - Proposed First Amended Complaint
Date: Monday, November 23, 2020 at 10:43:50 AM Eastern Standard Time
From: Philip Hiltner
To:      Christopher Olson

Yes, you may ﬁle.

Philip J. Hiltner
Assistant CorporaNon Counsel
City of Detroit Law Department
2 Woodward Ave., Ste. 500
Detroit, MI 48224
(313) 237-6390




From: Christopher Olson [mailto:colson@olsonpllc.mygbiz.com]
Sent: Monday, November 23, 2020 9:03 AM
To: Philip Hiltner <hiltnerp@detroitmi.gov>
Subject: [EXTERNAL] FW: Rasnick v. Morrison, et al - Proposed First Amended Complaint

Phil:

May we file the FAC? Please advise.
Christopher S. Olson
Olson PLLC
32121 Woodward Avenue
Suite 300
Royal Oak, Michigan 48073
(248) 672-7368
www.olsonpllc.com



From: Christopher Olson <colson@olsonpllc.mygbiz.com>
Date: Friday, November 20, 2020 at 11:04 AM
To: hiltnerp@detroitmi.gov <hiltnerp@detroitmi.gov>
Subject: Rasnick v. Morrison, et al - Proposed First Amended Complaint

Hi Phil:

Attached is the proposed First Amended Complaint that we discussed. Please let me
know if you consent to filing it.

Sincerely,
Christopher S. Olson

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